Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 1 of 37 PageID#
                                   74981
                                                                                    CONFIDENTIAL


                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


 UNITED STATES, et al.,

                               Plaintiffs,                   Civil Action No.
                                                             1:23-cv-00108-LMB-JFA
               v.

 GOOGLE LLC,

                               Defendant.



     DEFENDANT GOOGLE LLC’S RESPONSES TO PLAINTIFFS’ FIRST SET OF
                        INTERROGATORIES

        Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure (the “Federal

 Rules”) and the Local Rules of the United States District Court for the Eastern District of

 Virginia (the “Local Rules”), Defendant Google LLC (“Google”), by its undersigned counsel,

 responds to Plaintiffs’ First Set of Interrogatories (Nos. 1-6) as follows.

 Interrogatory 1:

 For each Relevant Product, identify every current or past competitor from 2007 to the present
 and, if relevant, when they entered or exited the market. The term “Relevant Products” means
 Google Ad Manager, Google Display & Video 360, Google Ads, and any other product offered
 by Google that facilitates the sale or purchase of digital display advertising, and all subsidiary
 products, predecessor products, and like abandoned products. For the avoidance of doubt,
 “Relevant Products” includes DoubleClick for Publishers, AdX, DoubleClick Bid Manager,
 Google Display Network, AdWords, and AdSense for Content.

 Google’s Objections to Interrogatory 1:




                                                   1
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 2 of 37 PageID#
                                   74982
                                                                                 CONFIDENTIAL


         Google objects to Interrogatory 1 as overbroad, unduly burdensome, and disproportionate

 to the needs of the case because it seeks to require Google to identify “every current or past

 competitor” to an undefined number of products going back 16 years.

         Google further objects to Interrogatory 1 as overbroad, unduly burdensome, and

 disproportionate to the needs of the case because it seeks to require Google to research

 information about when its competitors entered or exited that is equally accessible to Plaintiffs

 from public materials.

         Google further objects to Interrogatory 1 as seeking information outside Google’s

 possession, custody, and control because it seeks to require Google to conduct an analysis that

 depends upon Google recreating competitive conditions for every year going back 16 years.

         Google further objects to Interrogatory 1 as overbroad, unduly burdensome, and

 disproportionate to the needs of the case because it seeks information concerning products other

 than Google Ad Manager, AdSense for Content, Google Ads, and DV360.

         Subject to and without waiving any of Google’s objections, Google will undertake

 reasonable efforts to identify current or past competitors for Google Ad Manager, AdSense for

 Content, Google Ads, and DV360 based on information currently available and during the time

 allotted.

 Google’s Response to Interrogatory 1:

         Google Ad Manager,1 AdSense for Content, Google Ads,2 and Display & Video 3603

 (collectively, “Google’s Ad Tech Products”) operate in a multi-sided, highly dynamic



 1
   Formerly DoubleClick for Publishers and AdX.
 2
   Formerly AdWords.
 3
   Formerly DoubleClick Bid Manager.
                                                2
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 3 of 37 PageID#
                                   74983
                                                                                      CONFIDENTIAL


 marketplace in which new competitors and tools are launched regularly and publishers and

 advertisers frequently turn to their own proprietary tools to buy or sell online advertising space.

 In addition, both Google and its competitors frequently combine what could be viewed as

 multiple complementary functionalities into a single product. Any or all of those tools could,

 therefore, reasonably be considered “current or past competitors” of Google’s Ad Tech Products.

 To be responsive to Plaintiffs’ request, Google has made reasonable efforts to sort the

 competitive tools listed below by the Google Ad Tech Product that, to Google’s knowledge, its

 principal functionality most resembles. By doing so, however, Google does not intend to waive

 any argument that such tools are competitive constraints on other Google Ad Tech Products or

 that this list includes every such tool or competitor. Further, Google’s responses to this

 Interrogatory should not be understood to suggest that Google believes any or all of the products

 addressed in the responses that follow compete in separate relevant antitrust markets.

        Given the breadth of competitors, the dynamic nature of the marketplace, Google’s

 limited visibility into all of the competing tools and their functionalities, and the time provided to

 respond, this list is not comprehensive. Google has nevertheless used reasonable efforts to

 provide a list of companies that it believes either compete or have competed with Google’s Ad

 Tech Products. Google has also used reasonable efforts to note any companies that Google

 understands to have stopped offering a product or service that previously competed with

 Google’s Ad Tech Products. Google will continue to supplement its Response to Interrogatory

 No. 1 as necessary.

        Subject to the foregoing qualifications and subject to and without waiving Google’s

 earlier-served objections, Google hereby responds to Interrogatory 1 as follows:



                                                   3
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 4 of 37 PageID#
                                   74984
                                                                                     CONFIDENTIAL


        First, the following companies or products provide services to aid publishers in managing

 sales of their display ad inventory, including ad delivery, reporting, and forecasting services (see

 Compl. ¶ 283), and are therefore competitors of Google Ad Manager’s publisher ad server

 (formerly known as DoubleClick for Publishers) and AdSense for Content:

        Ad Maven
        adcash
        Adform
        AdGlare
        Admost
        Adning
        Adocean
        AdsKeeper
        AdsTerra
        ADTECH
        Amazon (incl. Amazon Publisher Services)
        Apollo Global Management (incl. Brightroll, Oath/Verizon, and Yahoo! ad tech assets)
        Apple
        AppLovin (incl. Mopub)
        Appodeal Stack
        aQuantive (reportedly acquired by Microsoft in 2007)
        Automattic
        Bidvertiser
        BlueStreak
        BroadStreetAds
        BuySellAds (incl. CarbonAds)
        CheckM8
        Commission Junction
        Criteo
        Digital Turbine
        Epom
        Equativ
        Ezoic
        FreeWheel
        H12 Media
        Improve Digital
        infolinks

                                                   4
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 5 of 37 PageID#
                                   74985
                                                                                   CONFIDENTIAL


        InMobi
        Kevel
        Liftoff (incl. Vungle)
        Magnite (incl. SpotX and Springserve)
        Mediavine
        Meta (incl. Audience Network)
        mgid
        Microsoft (incl. Xandr, Microsoft Audience Network, and Open AdStream assets)
        Oath Ad Server (reportedly shut down in 2020)
        OpenX (free ad server reportedly shut down in 2013; paid ad server reportedly
                shut down in 2019)
        Outbrain (incl AdNgin)
        PlugRush
        PopAds
        PopCash
        PreBid.org
        Revive
        Sun Ad Network
        Taboola (incl. Skimlinks)
        Tapjoy
        The Moneytizer
        TikTok (incl. Pangle)
        Timehop
        TopOn
        TradeDoubler
        Unity (incl. ironSource)
        URX
        Verve Group (incl. Smaato)
        Vistar Media
        Warner Brothers Discovery (incl. ZEDO assets)
        ylliX
        Zynga (incl. Chartboost)

 In addition to the companies listed above, Google is aware that various publishers have deployed

 their own proprietary ad serving and monetization systems that are substitutes, in whole or in

 part, for Google Ad Manager and AdSense for Content. Google does not have a complete list of



                                                 5
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 6 of 37 PageID#
                                   74986
                                                                                   CONFIDENTIAL


 such publishers, but examples of publishers with in-house publisher ad servers and/or

 monetization tools include Amazon, Apple, Disney, Meta, Microsoft, Pinterest, Reddit, Snap,

 and TikTok.

        Second, the following companies or products provide real-time auction services for

 publishers seeking to sell their display ad inventory (see Compl. ¶ 291) and are therefore

 competitors of Google Ad Manager's ad exchange (formerly known as AdX) and AdSense for

 Content.

        33Across
        Ad Generation
        Ad Maven
        Adagio
        adaptMX
        adcash
        AdECN (reportedly shut down in 2011)
        Adform
        Admost
        AdPushup
        AdsKeeper
        AdsTerra
        ADTECH
        AdYouLike
        AerServ
        Amazon (incl. Amazon Publisher Services)
        Apollo Global Management (incl. Brightroll, Oath/Verizon, and Yahoo! ad tech assets;
                Yahoo! SSP reportedly will shut down in 2023)
        AppLovin (incl. Mopub)
        AppMonet
        Appodeal Stack
        Basis Technologies
        Beachfront
        Bidstack
        Bidtellect
        Bidvertiser
        BounceX
                                                 6
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 7 of 37 PageID#
                                   74987
                                                                            CONFIDENTIAL


       Brightcom
       BuySellAds (incl. CarbonAds)
       Carambola
       Chocolate Platform
       Colossus
       Comcast (incl. FreeWheel)
       Commission Junction
       Connatix
       Consumable
       Content.ad (reportedly shut down in 2022)
       Criteo (incl. MediaGrid and Bidswitch)
       Digital Turbine
       EMX
       ePlanning
       Equativ
       Ezoic
       Fluct
       Freestar
       GumGum
       H12 Media
       Improve Digital
       Index Exchange
       infolinks
       InMobi
       Kargo
       Liftoff (incl. Vungle)
       LKQD
       LockerDome
       Magnite (incl. Carbon, Rubicon Project, SpringServe, SpotX, and Telaria)
       Media.net
       Mediavine
       Meta (incl. Audience Network; FBX and LiveRail reportedly shut down in 2016)
       mgid
       Microsoft (incl. Xandr, Microsoft Audience Network, and Open AdStream assets)
       MobFox
       NoBid
       OFT Media
       OneMobile
       OneTag

                                             7
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 8 of 37 PageID#
                                   74988
                                                                CONFIDENTIAL


       OpenX
       Outbrain (incl AdNgin)
       PlugRush
       PopAds
       PopCash
       Publicis Groupe (incl. Epsilon)
       Pubmatic
       PulsePoint (incl. ContextWeb)
       Quantcast
       RevContent
       ShareThrough (incl. DistrictM)
       Sonobi
       Sortable
       Sovrn
       Sun Ad Network
       Synacor Media
       Taboola (incl. Skimlinks)
       Tapjoy
       Teads
       The Moneytizer
       The Trade Desk
       TikTok (incl. Pangle)
       TopOn
       TradeDoubler
       Tremor (incl. RhythmOne and Unruly)
       TripleLift
       TrustX
       Ucfunnel
       Undertone
       Unity (incl. ironSource)
       URX
       Verve Group (incl. Smaato)
       Vistar Media
       Vox Media (including Concert.io)
       Yieldlab
       Yieldmo
       YieldNexus
       YieldOne
       ylliX

                                             8
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 9 of 37 PageID#
                                   74989
                                                                                  CONFIDENTIAL


        Zynga (incl. Chartboost)

 In addition to the companies listed above, Google is aware that various publishers have deployed

 their own proprietary auction-based monetization systems that are substitutes, in whole or in

 part, for Google Ad Manager and AdSense for Content. Google does not have a complete list of

 such publishers, but examples of publishers with in-house auction-based monetization systems

 include Amazon, Apple, Disney, Meta, Microsoft, Pinterest, Reddit, Snap, and TikTok.

        Third, the following companies or products provide advertisers the ability to create ad

 campaigns that purchase publisher advertising inventory via real-time auctions and therefore

 compete with Display & Video 360 and Google Ads:

        1TRN
        Aarki
        Active Agent
        Acuity Ads
        Adelement
        Adform
        Adhood TR
        Adiant
        Adkernel
        adloop
        Admixer Technologies
        adnologies
        Adobe
        AdPlay Technology
        AdRecover
        AdRiver
        AdSame
        AdScience
        Adspend
        advanced STORE
        Aerify Media
        aki eyeview
        Albertsons

                                                 9
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 10 of 37 PageID#
                                    74990
                                                                         CONFIDENTIAL


       Amazon (incl. Amazon Ads, Amazon DSP, and Sizmek assets)
       Apollo Global Management (including Yahoo! DSP and Oath assets)
       Appier
       Apple
       AppLovin (incl. Mopub)
       Arpeely
       AudienceFUEL
       AudienceScience
       Basis Technologies
       Bidtellect
       BidTheatre
       Bidvertiser
       Brightroll
       BuySellAds (incl. Carbon Ads)
       Chocolate Platform
       Choozle
       clicksco
       Comcast (incl. Beeswax, FreeWheel DemandSuite, and NBCUniversal One Platform)
       Connexity
       Criteo (incl. Iponweb and BidSwitch)
       DeepIntent
       Delta Projects AB
       Digilant
       Digital Turbine
       Disney
       Doordash
       E-contenta
       Emerse
       EnvisionX
       Equativ (incl. LiquidM)
       Eskimi
       Evadav
       FreakOut
       GoPuff
       GroovinAds
       infolinks
       Inmobi
       Instacart
       Intelliad

                                          10
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 11 of 37 PageID#
                                    74991
                                                                             CONFIDENTIAL


       Kavanga Media
       Liftoff (incl. Vungle)
       Locala
       LucidMedia
       Mantis
       Marin
       mediaforce
       MediaGlu
       MediaMath
       Meta (incl. Facebook, Instagram, Messenger, and Meta Audience Network)
       Microsoft (incl. Xandr Invest, Microsoft Audience Network, LinkedIn Ads)
       Moloco
       NextRoll
       OneDigitalAd
       Outbrain (incl. Zemanta)
       Pinterest Ads
       Platform.io
       publica
       PowerLinks Media
       PropellerAds
       Publicis Groupe (incl. Conversant)
       Quantcast
       Quora for Business
       Rakuten
       Retail Rocket
       Roku (incl. DataXu assets)
       Rontar
       RTB House
       Samsung Ads (incl. AdGear)
       ScaleOut DSP
       SHE Media
       Simpli.fi
       Skai
       Smartology
       SnapChat Ads
       Solocal
       StackAdapt
       Storygize
       Sun Ad Network

                                             11
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 12 of 37 PageID#
                                    74992
                                                                                   CONFIDENTIAL


         Taboola
         Tagtoo
         TapJoy
         TapTap Networks
         The Trade Desk
         TikTok (incl. TikTok Ads and Pangle)
         Tremor (incl. Amobee and Videology)
         Twitter Ads
         Unity (incl. ironSource)
         Vertoz Advertising
         Verve DSP
         Viant (incl. Adelphic Mobile)
         Walmart Connect
         Yieldr
         Zeta Marketing Platform
         Zynga (incl. Chartboost)

         In addition to the companies listed above, Google is aware that various publishers have

  deployed their own proprietary ad serving and monetization systems and self-service buying

  doors that permit advertisers to run campaigns and purchase the publisher’s ad inventory in

  automated real-time auctions, and which compete with Google Ads and Display & Video 360 for

  advertiser spend. Google does not have a complete list of such publishers, but examples of

  publishers with such tools include Amazon, Apple, Disney, Meta, Microsoft, Pinterest, Reddit,

  SnapChat, and TikTok. In addition, numerous other publishers sell advertising space directly to

  publishers through non-programmatic means, which also operates as competitive constraints on

  Google Ads and Display & Video 360.

  Interrogatory 2:

  For all display advertising impressions purchased or won by any Federal Agency Advertiser,
  identify, on a monthly basis from January 2019 to the present for each Relevant Product and in
  total across all Relevant Products, the Federal Agency Advertiser and number of advertising
  impressions purchased or awarded; amount of associated gross spending, inclusive of fees or
  revenue shares; and associated revenue recorded in any form by Google.

                                                 12
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 13 of 37 PageID#
                                    74993
                                                                                      CONFIDENTIAL



  Google’s Objections to Interrogatory 2:

         Google objects to Interrogatory 2 as vague, ambiguous, and unduly burdensome because

  it seeks to require Google to identify unspecified “components” of the agencies expressly listed

  in Definition 4 when Plaintiffs have better information than Google about what constitutes a

  “component” of those agencies and about the “components” on behalf of which Plaintiffs are

  seeking damages.

         Google further objects to Interrogatory 2 as vague and ambiguous because the terms

  “associated revenue” and “recorded by Google” are undefined. Google’s best understanding of

  the ordinary meaning of these terms in the context of Interrogatory 2 is that they call for

  Google’s gross revenue from the relevant transactions, but that interpretation would render other

  portions of this Interrogatory superfluous so Google is willing to meet and confer to better

  understand this Interrogatory.

         Google further objects to Interrogatory 2 as overbroad and unduly burdensome because it

  seeks to require Google to provide the “number of advertising impressions purchased or

  awarded” and the “amount of associated gross spending, inclusive of fees or revenue share” on a

  monthly basis for each Federal Agency Advertiser when that information that should be equally

  available to Plaintiffs from each Federal Agency Advertiser.

         If Interrogatory 2 seeks information about “all display advertising impressions purchased

  or won by any Federal Agency Advertisers” without limiting the request to impressions

  purchased through Google Ads or DV360, Google objects to the Interrogatory as seeking

  information outside Google’s possession, custody, and control.




                                                   13
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 14 of 37 PageID#
                                    74994
                                                                                      CONFIDENTIAL


         Subject to and without waiving any of Google’s objections, Google will provide, for each

  of the Federal Agency Advertisers, the following data that Google maintains in the ordinary

  course for each month since January 2019, separately for purchases made through Google Ads

  and DV360: (a) the number of display advertising impressions purchased; and (b) the amount of

  associated gross spending received from the Federal Agency Advertiser by Google, inclusive of

  fees or revenue shares.

  Google’s Response to Interrogatory 2:

         In response to this Interrogatory, Google provides Exhibit A, which contains (a) the

  number of display advertising impressions purchased via Google Ads or DV360; and (b) the

  amount of associated gross spending received from the Federal Agency Advertiser by Google,

  inclusive of fees or revenue shares. The information contained in Exhibit A for Federal Agency

  Advertisers (“FAA”) was derived from data maintained in the ordinary course of business by

  Google’s Finance group. The Gross Revenue and Impressions in Exhibit A are comprised of

  total advertiser spend on Google Ads and DV360 during the time period January 1, 2019 to

  March 31, 2023, inclusive of any fees or revenues retained by Google, and including advertiser

  spend on Google O&O and third-party web and in-app display ad inventory (but excluding for

  the avoidance of doubt spend on Google Search and AdSense for Search).

         Google conducted a reasonable investigation to determine the relevant FAAs described

  by Plaintiffs. The Finance data used to create Exhibit A, however, rely on customer-entered data

  for certain data fields, including the field listing the name of the advertiser customer. These

  customer-entered fields are not verified, curated, or cleaned by Google. In many instances, the

  customer name data field includes abbreviations, acronyms, and/or typographic errors. Because



                                                   14
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 15 of 37 PageID#
                                    74995
                                                                                    CONFIDENTIAL


  Google relied, in part, on the customer name field to determine potential FAAs (or components

  thereof), Google cannot confirm that any FAAs listed with misspelled, misentered, or unclearly

  described names were identified through this investigation or that their relevant metrics were

  incorporated in Exhibit A.

         In an April 19, 2023 letter, Plaintiffs stated that by “amount of associated gross spending,

  inclusive of fees or revenue shares,” they intended to seek “information about what was charged

  for each impression purchased by Federal Agency Advertisers at various points in the ad tech

  stack, and that [Plaintiffs’] request is not limited to what Google charged Federal Agency

  Advertisers.” Subject to and without waiving any of Google’s objections, and although this

  meaning was not readily apparent from the language of the Interrogatory, Google is willing to

  meet and confer about this clarification.

  Interrogatory 3:

  For each Relevant Product, state its booked revenue, net revenue, gross margin,
  and operating profit, on a United States-only and worldwide basis, for each year from 2008 to the
  present, and explain Google’s methodology for allocating expenses to each Relevant Product.

  Google’s Objections to Interrogatory 3:

         Google objects to Interrogatory 3 as overbroad, unduly burdensome, and disproportionate

  to the needs of the case because it seeks to require Google to provide information on its

  revenues, margins, and profit by Relevant Product going back 15 years.

         Google further objects to Interrogatory 3 as vague and ambiguous because it fails to

  define the phrases “booked revenue,” “net revenue,” “gross margin,” and “operating profit.”

  Google will interpret these terms consistent with its general business understanding of their

  meaning.

                                                  15
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 16 of 37 PageID#
                                    74996
                                                                                     CONFIDENTIAL


         Google further objects to Interrogatory 3 as overbroad, unduly burdensome and

  disproportionate to the needs of the case because it seeks to require Google to describe

  “methodologies for allocating expenses” for “each Relevant Product” over a 15-year time period.

         Google further objects to Interrogatory 3 because it seeks information on a “United

  States-only” basis and Google does not maintain the requested data on a geographically-

  segmented basis.

         Google further objects to Interrogatory 3 as vague, ambiguous, overbroad, unduly

  burdensome, and disproportionate to the needs of the case because it seeks data concerning

  products other than Google Ad Manager, AdSense for Content, Google Ads, and DV360.

         If Interrogatory 3 seeks data about advertising purchased through Google Ads other than

  display advertising (e.g., search advertising), Google objects to the Interrogatory as overbroad,

  unduly burdensome, and disproportionate to the needs of the case.

         Subject to and without waiving any of Google’s objections, Google will provide the

  following information, on a worldwide basis, for the years 2021 and 2022, separately for Google

  Ad Manager, AdSense for Content, Google Ads (limited to display advertising), and DV360: (a)

  booked revenue; (b) net revenue; (c) gross margin; and (d) operating profit. Google is

  additionally continuing to investigate what product-level data can be reliably produced for years

  prior to 2021 (when Google’s current product-level P&L system was put in place), and will

  supplement its response as appropriate.

  Google’s Response to Interrogatory 3:

         Google has gathered and reviewed financial data (booked revenue, net revenue, gross

  margin, and operating profit) by product (including Google Ad Manager, AdSense for Content,



                                                  16
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 17 of 37 PageID#
                                    74997
                                                                                     CONFIDENTIAL


  DV360, and Google Ads (limited to Display Network)) for the years 2021 and 2022. These data

  are attached as Exhibit B.

          Google has also conducted an investigation into the availability of product-level financial

  data for years before 2021. Google’s assessment is that it can only provide consistent

  product-level financial metrics for 2021 and 2022.

          Until recently, Google’s Finance group had not developed ordinary-course methodologies

  to account for the independent financial performance of Google’s Ad Tech Products (including

  methods to allocate revenue, expenses, and profits across products) and therefore did not

  systematically maintain product-level financial metrics. Additionally, Google is limited in its

  ability to retroactively apply the current methodology, as the data used by the current

  methodology may not be available for earlier years, and the assumptions supporting the

  methodology may not be appropriate in light of the many changes to Google’s business over

  fifteen years.

          Google has made extensive productions to the Division of documents concerning various

  financial metrics. While some documents created prior to 2021 might appear to reflect

  product-level financial metrics on an ad hoc basis, Google cannot confirm that those documents

  were created using accurate and consistent methodologies to allocate revenues, profits, and costs

  across the various products. Some of these documents reflect Google’s iterative efforts to

  develop ordinary course product-level financial metrics and therefore may only reflect parts of

  the methodology Google uses today to create those metrics. Moreover, Google understands that

  the apparent product-level data reflected in pre-2021 documents were based on imperfect

  approximations of how revenue, profit, and/or cost could be allocated across products. The data



                                                  17
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 18 of 37 PageID#
                                    74998
                                                                                     CONFIDENTIAL


  reflected in such documents therefore may differ significantly from the data Google provides in

  Exhibit B.

  Interrogatory 4:

  Identify each publisher that discontinued use of DoubleClick for Publishers product from 2005 to
  the present and, if known, what product those customers used as a replacement for DoubleClick
  for Publishers.

  Google’s Objections to Interrogatory 4:

         Google objects to Interrogatory 4 as overbroad, unduly burdensome, and disproportionate

  to the needs of the case because it seeks information regarding products that publishers that

  discontinued use of DoubleClick for Publishers “used as a replacement for DoubleClick for

  Publishers” that is not in Google’s possession, custody or control, and/or that is obtainable from

  another source from which it would be more convenient, less burdensome, or less expensive to

  produce the information.

         Google further objects to Interrogatory 4 as overbroad, unduly burdensome, and

  disproportionate to the needs of the case because it seeks information going back 18 years on

  publishers that discontinued use of DoubleClick for Publishers.

         Google further objects to Interrogatory 4 as vague and ambiguous because the term

  “discontinued” is not defined and could potentially include “each publisher that discontinued use

  of DoubleClick for Publishers” on all their ad inventory or, alternatively, “each publisher that

  discontinued use of DoubleClick for Publishers” on some portion of their inventory, such as on

  one website or in one geographic region, while continuing to use DoubleClick for Publishers on

  other websites or in other geographic regions.




                                                   18
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 19 of 37 PageID#
                                    74999
                                                                                       CONFIDENTIAL


         Subject to and without waiving any of Google’s objections, Google will use reasonable

  efforts to identify publishers that had at least one impression served by DoubleClick for

  Publishers from the earliest date available in the relevant system to December 31, 2021 but has

  not had any such impression served by DoubleClick for Publishers between January 1, 2022 and

  December 31, 2022.

  Google’s Response to Interrogatory 4:

         In order to fully respond to this Interrogatory, Google must collect and analyze data on

  the total number of impressions served by Google Ad Manager’s ad server each year for each

  publisher from at least 2014 through 2022. Google is still collecting, assessing, and reviewing

  this data. Google anticipates that it will be able to produce a list of publishers responsive to this

  Interrogatory on or around May 30, 2023.

  Interrogatory 5:

  Explain how the data on the graph labelled “Distribution of Remnant served Impressions” on
  page GOOG-DOJ-AT-02194031 of GOOG-DOJ-AT-02194020 was calculated, including the
  inputs, relevant geography, assumptions, and calculations and identify data sufficient to
  re-produce such analysis from January 1, 2008 to the present.

  Google’s Objections to Interrogatory 5:

         Google objects to Interrogatory 5 as overbroad, unduly burdensome, and disproportionate

  to the needs of the case because it requires Google to “identify data sufficient to re-produce” the

  analysis in the identified graph going back fifteen years.

         Google further objects to Interrogatory 5 as vague and ambiguous because it requires

  Google to explain the “assumptions” regarding “how the data on the graph . . . was calculated”

  without defining the term “assumptions.”




                                                    19
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 20 of 37 PageID#
                                    75000
                                                                                      CONFIDENTIAL


         Google further reserves its right to object to Interrogatory 5 as seeking information that is

  outside of Google’s possession, custody, or control if the individual or individuals who created

  the identified graph and initially “calculated” the data cited in the Interrogatory are no longer

  employed at Google.

         Subject to and without waiving any of Google’s objections, Google will conduct a

  reasonable search to attempt to identify the data used to create the identified graph and attempt to

  explain how such data was used to create the graph.

  Google’s Response to Interrogatory 5:

         The data used to produce the graph on page GOOG-DOJ-AT-02194031 of

  GOOG-DOJ-AT-02194020 are from the Header Bidding Monitor (“HB Monitor”) data set.

  Google, through its outside counsel, has previously provided a description of HB Monitor in its

  November 18, 2021 Letter to the Department of Justice Antitrust Division’s George Nierlich.

  Along with the letter, Google provided the Division with a comma-delimited text file containing

  HB Monitor data for North America from June 2018 to December 2020. On November 30,

  2022, Google provided the Division with a refresh of this data set through September 30, 2022.

         Google has conducted a reasonable investigation to determine how the identified graph

  was created. While Google was able to identify the data used to create the identified graph as

  HB Monitor data, it has not been able to identify who created the graph. Google is therefore

  unable to determine what, if any, filters were applied to the data in making the graph (such as

  whether the HB Monitor data used to make the graph were limited by geographic region).

  Google has made reasonable efforts to recreate the identified chart by applying various filters to

  the HB Monitor data and has been unable to create the results depicted in the identified graph.



                                                   20
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 21 of 37 PageID#
                                    75001
                                                                                     CONFIDENTIAL


  Because there is not a saved static copy of the HB Monitor data from the time the chart was

  made (which appears to have been around December 2019, according to page

  GOOG-DOJ-AT-02194020 of the document), updates to the data set or methodology after that

  date would prevent the exact recreation of the identified graph.

         Prior to the earliest date in the HB Monitor data set, Google did not maintain an

  equivalent system for estimating the presence of header bidding, which only came to prominence

  in or around 2015. Google is therefore not aware of data that would permit replication of the

  identified graph for periods before 2018.4

  Interrogatory 6:

  Explain, for GOOG-DOJ-AT-02162134, how the results in each separate table shown on pages
  GOOG-DOJ-AT-02162137–142 were calculated, including the inputs, relevant geography,
  assumptions, and calculations, and identify data sufficient to reproduce such analysis by month
  from January 1, 2008 to the present.

  Google’s Objections to Interrogatory 6:

         Google objects to Interrogatory 6 as overbroad, unduly burdensome, and disproportionate

  to the needs of the case because it requires Google to “identify data sufficient to reproduce” the

  analysis in the identified graph going back fifteen years.

         Google further objects to Interrogatory 6 as vague and ambiguous because it requires

  Google to explain the “assumptions” regarding how the results in the tables were calculated

  without defining the term “assumptions.”




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   This includes the Header-Bidding-Detection data table, referenced below, which also did not
  exist prior to 2018.
                                                   21
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 22 of 37 PageID#
                                    75002
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         Google further objects to Interrogatory 6 as seeking information that is outside of

  Google’s possession, custody, or control because the individuals who undertook the data analysis

  to create the identified tables are no longer employed at Google.

         Subject to and without waiving any of Google’s objections, Google will conduct a

  reasonable search to attempt to identify the data used to create the identified tables and attempt to

  explain how such data was used to create the tables.

  Google’s Response to Interrogatory 6:

         The data used for the referenced tables in GOOG-DOJ-AT-02162137-142 come from two

  sources: DRX-Internal-Stats table and the Header-Bidding-Detection table. The

  DRX-Internal-Stats table contains information about Google Ad Manager’s publisher ad server

  and ad exchange impression and revenue activity. Each day, the DRX-Internal-Stats table pulls

  data from various logs and summarizes query, impression, and revenue related metrics by

  various fields (such as the line item ID, publisher, attributes of the ad served, and the transaction

  type which wins the auction). Included in this summary are IDs corresponding to various

  experiments implemented by Google employees.

         Publishers do not directly provide Google Ad Manager with information specifying

  whether they are using header bidding. Google employs the Header-Bidding-Detection table on

  a daily basis to examine every line item for signals that indicate whether a publisher has created

  line items to receive bid information from header bidding auctions. One of these signals,

  degeneracy analysis, analyzes the creation of many line items that are nearly identical except that

  each line item has a unique key-value combination (likely corresponding to a potential winning

  bid from a header bidding action). Those values are often in fixed increments (measured in



                                                   22
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 23 of 37 PageID#
                                    75003
                                                                                      CONFIDENTIAL


  cents) that represent the likely range of possible values for the highest bid from a particular

  header bidding auction. A second signal analyzes “key names” which are used by publishers

  when communicating a bid from a header bidding auction to Google Ad Manager. Header

  bidding is inferred by Google when key names contain terms commonly associated with header

  bidding (e.g., “hb_pb” or “amznbid”).

          To create the data underlying the identified charts, the Header-Bidding-Detection table

  information is merged with the DRX-Internal-Stats table information by line item ID. Such a

  merge allows analysis of Google Ad Manager activity based on experiment variables (e.g.,

  whether a particular impression was part of a low-level traffic experiment or holdback

  experiment) and based on whether a potential impression was filled through header bidding (or

  via other forms of Google Ad Manager traffic, including remnant non-header bidding line items).

          While Google has generally identified the data used to create the identified charts,

  Google conducted a reasonable investigation and was unable to determine how the identified

  tables were created from that data. The analysts who created the tables no longer work at

  Google, and Google has been unable to identify any employees that have knowledge of how the

  identified tables were created. Nor has Google been able to identify the specific data, including

  any applied filters or calculations, used to create the identified tables.




                                                    23
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 24 of 37 PageID#
                                    75004




   Dated: April 27, 2023              Respectfully submitted,

                                       Isl Julie S. Elmer
                                      Eric Mahr (pro hac vice)
                                      Julie S. Elmer (pro hac vice)
                                      Andrew J. Ewalt (pro hac vice)
                                      Lam-en Kaplin (pro hac vice)
                                      Jeanette Bayoumi (pro hac vice)
                                      Tyler Ganett (VSB # 94759)
                                      FRESHFIELDS BRUCKHAUS
                                      DERINGER US LLP
                                      700 13th Street NW, 10th Floor
                                      Washington, DC 20005
                                      Telephone: (202) 777-4500
                                      Facsimile: (202) 777-4555
                                      Email: eric.mahr@freshfields.com

                                      Daniel S. Bitton (pro hac vice)
                                      55 2nd Street
                                      San Francisco, CA 94105
                                      Telephone: (415) 490-2000
                                      Facsimile: (415) 490-2001
                                      dbitton@axinn.com

                                      Bradley Justus
                                      Koren Wong-Ervin (pro hac vice)
                                      AXINN, VELTROP & HARKRIDER LLP
                                      1901 L Street NW
                                      Washington, DC 20036
                                      Telephone: (202) 912-4700
                                      Facsimile: (202) 912-4701
                                      Email: bjustus@axinn.com
                                      kwongervin@axinn.com

                                      CRAIG C. REILLY (VSB # 20942)
                                      209 Madison Street
                                      Alexandria, VA 22314
                                      Telephone: (703) 549-5354
                                      Facsimile: (703) 549-5355
                                      Email: Craig.reilly@ccreillylaw.com

                                      Counsel.for GooKle LLC




                                       24
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 25 of 37 PageID#
                                    75005



                                        CERTIFICATE OF SERVICE

           I hereby certify that on April 27, 2023, I served the foregoing to all counsel of record via

  email.


                                                         /s/ Sara Salem

                                                         Sara Salem
                                                         FRESHFIELDS BRUCKHAUS
                                                         DERINGER US LLP
                                                         700 13th Street NW, 10th Floor
                                                         Washington, DC 20005




                                                   25
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 26 of 37 PageID#
                                    75006



                                     EXHIBIT A
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 27 of 37 PageID#
                                    75007
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 28 of 37 PageID#
                                    75008
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 29 of 37 PageID#
                                    75009
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 30 of 37 PageID#
                                    75010
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 31 of 37 PageID#
                                    75011
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 32 of 37 PageID#
                                    75012
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 33 of 37 PageID#
                                    75013
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 34 of 37 PageID#
                                    75014
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 35 of 37 PageID#
                                    75015
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 36 of 37 PageID#
                                    75016



                                     EXHIBIT B
Case 1:23-cv-00108-LMB-JFA Document 1017-11 Filed 07/26/24 Page 37 of 37 PageID#
                                    75017                                 HIGHLY CONFIDENTIAL
